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                                IN THE UNITED STATES DISTRICT COURT "               '. ;
                                FOR THE NORTHERN DISTRICT OF GEORGik!Ll.,;,,,,� ..: ::,;;;!'
                                                                   , [ l'T�j - --- -:;
                                          ATLANTA DIVISION

             JUAN CAMPOS-REYES                                        MOTION TO VACATE
             BOP ID 60697-019,                                        28 u.s.c.       §    2255
                   Movant,
                                                                      CIVIL ACTION NO.
                   v.                                                 1:14-CV-2155-0DE


             UNITED STATES OF AMERICA,                                CRIMINAL ACTION NO.
                   Respondent.                                        1:09-CR-64-2-0DE




                                                           ORDER

                   This       matter    is     before          the    Court      on   Juan        Campos-Reyes's


             "Motion     to   Vacate,    Set    Aside          or    Correct     Sentence         Pursuant      to    28


             U.S.C. § 2255"       [Doc. 191],        the magistrate judge's "Final Report and


             Recommendation" recommending dismissal and denial of a Certificate


             of   Appealability         (the    "Final         R&R")    [Doc.     192],      and       Mr.    Campos-


             Reyes's     "Response       to    the    'R&R'         Filed   by   Magistrate            Judge"    (the


             "Objections")       [Doc.    204] .1


                   A     district      judge     has       a    duty    to     conduct        a       "careful       and


             complete" review of a magistrate                        judge's     Final      R&R.        Williams v.


             Wainwright,      681 F.2d 732,          732   (11th Cir. 1982)               (internal quotations


             marks and citation omitted) .                 Where objections are made,                      a district


             judge "shall make a de novo determination of those portions of the


             report or specified proposed findings or recommendations to which




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                       Mr. Campos-Reyes's        "Motion for an Extension of Time to File
             Objections"       [Doc.   195]    was previously granted                     [Doc.       201].




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             objection is made."            28 U.S.C. § 636(b) (1);           see also Jeffreys.                   v.


             State Bd. of Educ. of Ga.,              896 F.2d 507,        512 (11th Cir.              1990) (the


             district     judge     must    "give fresh consideration to those issues to


             which    specific       objection       has   been    made      by   a    party")         (internal


             quotation marks and citation omitted) .


                   The    Final      R&R    concluded      that    the    judgment          in       Mr.   Campos-


             Reyes's     criminal        case became final on January 26,                    2010 (when his


             time to file a         direct appeal expired)           and that his                §   2255 motion


             was   therefore        untimely     because    he    waited     until         June      25,   2014    to


             file it (more than three years after the one-year limitation period


             applicable        to    §   2255    motions    under       28    U.S.C.         §       2255(f)      had


             expired) .     See     [Doc. 192 at 1-2].          The Final R&R considered whether


             Mr. Campos-Reyes was entitled to equitable tolling of the one-year


             limitation period and concluded that he was not because he had not


             exercised due diligence in seeking relief under                           §    2255.          See   [id.


             at 3].      The   Final R&R        recommended      that Mr. Campos-Reyes's                     §   2255


             motion    be      dismissed        as   untimely     and     that        no    Certificate           of


             Appealability be issued because it is not debatable among jurists


             of reason that dismissal was appropriate.                        See      [id. at 4-5].


                   Although Mr. Campos-Reyes has filed eight pages of Objections,


             see   [Doc. 204],      he has not rebutted the Final R&R's conclusion that


             he did not exercise due diligence in filing his § 2255 motion after


             the one-year limitation period expired.                      Rather,          Mr. Campos-Reyes




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             acknowledges that he waited over two years before contacting this


             Court to find out whether an appeal had been filed in his case and


             that he waited an additional two years to file his                                 § 2255 motion.


             See   [Doc. 204 at 4].              This confirms that he did not exercise                         "due


             diligence"     in seeking relief under § 2255.


                   To     the       extent       that       Mr.       Campos-Reyes        argues       that     his


             entitlement to equitable tolling should be judged by an "excusable


             neglect"     standard, see              [Doc. 204 at 5-7], the Court notes that the


             Supreme      Court          has   instructed             federal       courts     that    the      "due


             diligence"      standard           applied       in      the     Final    R&R    is   the    correct


             standard.      See          generally      Holland        v.     Florida,   560    U.S.     631,   649

             (2010) .2      And,         while       "[t]he   diligence             required    for    equitable


             tolling purposes is               'reasonable diligence,' not                   'maximum feasible


             diligence,'        id.      at    653    (internal        quotation       marks    and    citations


             omitted),     it       is    readily      apparent        that     Mr.    Campos-Reyes       did   not


             exercise "reasonable diligence"                      when he waited two years after his




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                       Holland      holds       that    there         are     two     prerequisites       to    the
             application of equitable tolling:                         the exercise of         "due diligence"
             by the petitioner and "extraordinary circumstances."                                  See Holland,
             560 U.S. at 649.             Because "extraordinary circumstances" include "an
             attorney's failure to satisfy professional standards of care," id.,
             the Final R&R implicitly treated that prerequisite as having been
             established        -    based      on    Mr.   Campos-Reyes's            allegations        that   his
             attorney failed to file an appeal in response to instructions to do
             so - and focused only on the diligence with which Mr. Campos-Reyes
             thereafter sought relief under §                         2255.

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             criminal conviction became final to inquire about the status of his


             appeal and an additional two years to file for relief under§ 2255.


                  Mr.   Campos-Reyes's Objections are OVERRULED and the Final R&R


             is APPROVED   and   ADOPTED   as   the   Order    of   the    Court.   Mr.   Campos-


             Reyes's§ 2255 Motion is DISMISSED as untimely and a Certificate of


             Appealability is DENIED.




                  SO ORDERED,    this   �       day of    February,    2015.




                                                   ORI'itt)A D .   EVANS
                                                   UNITED STATES DISTRICT JUDGE




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